08-13555-mg        Doc 24933         Filed 02/03/12        Entered 02/03/12 11:20:50      Main Document
                                   HEARING DATE
                                             PgAND
                                                1 ofTIME:
                                                     17 March 22, 2012 at 10:00 a.m. (Eastern Time)
                                        RESPONSE DEADLINE: March 7, 2012 at 4:00 p.m. (Eastern Time)




  THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN
  FILED PROOFS OF CLAIM. PARTIES RECEIVING THIS NOTICE OF
 DEBTORS’ TWO HUNDRED FIFTY-SIXTH OMNIBUS OBJECTION TO
   CLAIMS SHOULD REVIEW THE OMNIBUS OBJECTION TO SEE IF
 THEIR NAME(S) AND/OR CLAIM(S) ARE LOCATED IN THE OMNIBUS
   OBJECTION AND/OR IN THE EXHIBIT ATTACHED THERETO TO
     DETERMINE WHETHER THIS OBJECTION AFFECTS THEIR
                         CLAIM(S).

                IF YOU HAVE QUESTIONS, PLEASE CONTACT
              DEBTORS’ COUNSEL, CINDI GIGLIO, AT 212-696-6936.


 CURTIS, MALLET-PREVOST,
  COLT & MOSLE LLP
 101 Park Avenue
 New York, New York 10178-0061
 Telephone: (212) 696-6000
 Facsimile: (212) 697-1559
 L. P. Harrison 3rd
 Cindi Eilbott Giglio

 Counsel for Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
 -------------------------------------------------------------------x

         NOTICE OF HEARING ON DEBTORS’ TWO HUNDRED FIFTY-SIXTH
        OMNIBUS OBJECTION TO CLAIMS (PURCHASED CONTRACT CLAIMS)

                  PLEASE TAKE NOTICE that on February 3, 2012, Lehman Brothers Holdings

 Inc. and its affiliated debtors in the above-referenced chapter 11 cases, as debtors and debtors in

 possession (collectively, the “Debtors”), filed their two hundred fifty-sixth omnibus objection to
08-13555-mg      Doc 24933      Filed 02/03/12 Entered 02/03/12 11:20:50             Main Document
                                           Pg 2 of 17



 claims (the “Two Hundred Fifty-Sixth Omnibus Objection to Claims”), and that a hearing (the

 “Hearing”) to consider the Two Hundred Fifty-Sixth Omnibus Objection to Claims will be held

 before the Honorable James M. Peck, United States Bankruptcy Judge, in Courtroom 601 of the

 United States Bankruptcy Court for the Southern District of New York, One Bowling Green,

 New York, New York 10004, on March 22, 2012 at 10:00 a.m. (Eastern Time), or as soon

 thereafter as counsel may be heard.

                PLEASE TAKE FURTHER NOTICE that any responses to the Two Hundred

 Fifty-Sixth Omnibus Objection to Claims must be in writing, shall conform to the Federal Rules

 of Bankruptcy Procedure and the Local Rules of the Bankruptcy Court, and shall be filed with

 the Bankruptcy Court (a) electronically in accordance with General Order M-399 (which can be

 found at www.nysb.uscourts.gov) by registered users of the Bankruptcy Court’s filing system,

 and (b) by all other parties in interest, on a 3.5 inch disk, preferably in Portable Document

 Format (PDF), WordPerfect, or any other Windows-based word processing format (with a hard

 copy delivered directly to Chambers), in accordance with General Order M-182 (which can be

 found at www.nysb.uscourts.gov), and served in accordance with General Order M-399, and on

 (i) the chambers of the Honorable James M. Peck, One Bowling Green, New York, New York

 10004, Courtroom 601; (ii) attorneys for the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth

 Avenue, New York, New York 10153 (Attn: Robert J. Lemons, Esq. and Mark Bernstein, Esq.);

 (iii) conflicts counsel for the Debtors, Curtis, Mallet-Prevost, Colt & Mosle LLP, 101 Park

 Avenue, New York, New York 10178-0061 (Attn. L. P. Harrison 3rd, Esq., and Cindi Eilbott

 Giglio, Esq.); (iv) the Office of the United States Trustee for Region 2, 33 Whitehall Street, 21st

 Floor, New York, New York 10004 (Attn: Tracy Hope Davis, Esq., Elisabeth Gasparini, Esq.,

 and Andrea Schwartz, Esq.); and (v) attorneys for the official committee of unsecured creditors




                                                  2
08-13555-mg      Doc 24933      Filed 02/03/12 Entered 02/03/12 11:20:50           Main Document
                                           Pg 3 of 17



 appointed in these cases, Milbank, Tweed, Hadley & McCloy LLP, 1 Chase Manhattan Plaza,

 New York, New York 10005 (Attn: Dennis F. Dunne, Esq., Dennis O’Donnell, Esq., and Evan

 Fleck, Esq.); so as to be so filed and received by no later than March 7, 2012 at 4:00 p.m.

 (Eastern Time) (the “Response Deadline”).

                PLEASE TAKE FURTHER NOTICE that if no responses are timely filed and

 served with respect to the Two Hundred Fifty-Sixth Omnibus Objection to Claims or any claim

 set forth thereon, the Debtors may, on or after the Response Deadline, submit to the Bankruptcy

 Court an order substantially in the form of the proposed order annexed to the Two Hundred

 Fifty-Sixth Omnibus Objection to Claims, which order may be entered with no further notice or

 opportunity to be heard offered to any party.

 Dated: February 3, 2012
        New York, New York

                                                     CURTIS, MALLET-PREVOST,
                                                      COLT & MOSLE LLP

                                                     By: __/s/ L. P. Harrison 3rd___
                                                             L. P. Harrison 3rd
                                                             Cindi Eilbott Giglio
                                                     101 Park Avenue
                                                     New York, New York 10178-0061
                                                     (212) 696-6000

                                                     Counsel for Debtors and
                                                      Debtors-in-Possession




                                                 3
08-13555-mg        Doc 24933         Filed 02/03/12 Entered 02/03/12 11:20:50             Main Document
                                                Pg 4 of 17
                                   HEARING DATE AND TIME: March 22, 2012 at 10:00 a.m. (Eastern Time)
                                        RESPONSE DEADLINE: March 7, 2012 at 4:00 p.m. (Eastern Time)


 CURTIS, MALLET-PREVOST,
  COLT & MOSLE LLP
 101 Park Avenue
 New York, New York 10178-0061
 Telephone: (212) 696-6000
 Facsimile: (212) 697-1559
 L. P. Harrison 3rd
 Cindi Eilbott Giglio

 Counsel for Debtors and Debtors-in-Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
 -------------------------------------------------------------------x

                  DEBTORS’ TWO HUNDRED FIFTY-SIXTH OMNIBUS
               OBJECTION TO CLAIMS (PURCHASED CONTRACT CLAIMS)



  THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN
    FILED PROOFS OF CLAIM. PARTIES RECEIVING THIS TWO
 HUNDRED FIFTY-SIXTH OMNIBUS OBJECTION TO CLAIMS SHOULD
   REVIEW THE OMNIBUS OBJECTION TO SEE IF THEIR NAME(S)
  AND/OR CLAIM(S) ARE LOCATED IN THE OMNIBUS OBJECTION
  AND/OR IN THE EXHIBIT ATTACHED THERETO TO DETERMINE
      WHETHER THIS OBJECTION AFFECTS THEIR CLAIM(S).

                IF YOU HAVE QUESTIONS, PLEASE CONTACT
              DEBTORS’ COUNSEL, CINDI GIGLIO, AT 212-696-6936.
08-13555-mg      Doc 24933      Filed 02/03/12 Entered 02/03/12 11:20:50            Main Document
                                           Pg 5 of 17



 TO THE HONORABLE JAMES M. PECK
 UNITED STATES BANKRUPTCY JUDGE:

                Lehman Brothers Holdings Inc. (“LBHI”) and its affiliated debtors, in the above-

 referenced chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”),

 respectfully represent as follows:

                                         Relief Requested

                1.      The Debtors file this two hundred fifty-sixth omnibus objection to claims

 (the “Two Hundred Fifty-Sixth Omnibus Objection to Claims”), pursuant to section 502(b) of title

 11 of the United States Code, as amended (the “Bankruptcy Code”), Rule 3007(d) of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and this Court’s order approving

 procedures for the filing of omnibus objections to proofs of claim filed in these chapter 11 cases

 (the “Procedures Order”) [Docket No. 6664], seeking disallowance and expungement of the

 claims listed on Exhibit A annexed hereto.

                2.      The Debtors have examined the proofs of claim identified on Exhibit A

 (collectively, the “Purchased Contract Claims”) and have determined that they assert claims

 related to contracts of the Debtors that were assigned to Barclays Capital Inc. (“Barclays”) and

 for which Barclays assumed liability. With respect to those contracts, the Court found in its

 September 19, 2008 order [Docket No. 258] (the “Barclays Sale Order”) that, to the extent

 necessary, the Debtors cured or provided adequate assurance of cure of any default existing prior

 to entry of the Barclays Sale Order and provided compensation or adequate assurance of

 compensation to any party that suffered pecuniary loss as a result of such default, as required by

 section 365 of the Bankruptcy Code. Furthermore, section 365(k) of the Bankruptcy Code

 relieves the Debtors from any liability for defaults occurring after assignment of the relevant




                                                  2
08-13555-mg      Doc 24933      Filed 02/03/12 Entered 02/03/12 11:20:50            Main Document
                                           Pg 6 of 17



 contracts to Barclays. Accordingly, the Debtors have no liability for the Purchased Contract

 Claims, and the Debtors request they be disallowed and expunged in their entirety.

                3.      The Debtors reserve all their rights to object on any basis to any Purchased

 Contract Claim as to which the Court does not grant the relief requested herein.

                                            Jurisdiction

                4.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                                            Background

                5.      Commencing on September 15, 2008, and periodically thereafter, LBHI

 and certain of its subsidiaries commenced with this Court voluntary cases under chapter 11 of the

 Bankruptcy Code. The Debtors’ chapter 11 cases have been consolidated for procedural

 purposes only and are being jointly administered pursuant to Bankruptcy Rule 1015(b). The

 Debtors are authorized to operate their businesses and manage their properties as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                6.      On September 16, 2008, the Debtors and Barclays entered into an asset

 purchase agreement (the “Asset Purchase Agreement”) with respect to the sale of all assets

 (except for certain excluded assets) used in connection with the Debtors’ North American capital

 markets and investment banking business. Pursuant to the Asset Purchase Agreement, Barclays

 had sixty days from the closing of the sale to designate contracts related to the purchased assets

 for assignment to Barclays (the “Purchased Contracts”). (See Asset Purchase Agreement § 2.5.)

 Upon assignment, Barclays would assume the obligations under the Purchased Contracts on a

 going-forward basis and would be obligated to pay any cure amounts due on those Purchased

 Contracts. (See id. §§ 2.3(b) and 2.5.)




                                                  3
08-13555-mg      Doc 24933       Filed 02/03/12 Entered 02/03/12 11:20:50              Main Document
                                            Pg 7 of 17



                7.      The sale to Barclays was consummated pursuant to the Barclays Sale

 Order and a clarification letter dated as of September 20, 2008, and executed on September 22,

 2008. Pursuant to section 2.5 of the Asset Purchase Agreement, Barclays designated hundreds of

 the Debtors’ contracts as Purchased Contracts and assumed the obligations related thereto. (See

 “Closing Date Contracts,” available at http://www.lehman-docket.com under “Case

 Information”; Docket Nos. 709-712, 1061, 1433, 1634, 1671, 1677, 1678.)

                8.      On September 17, 2008, the United States Trustee for Region 2 (the “U.S.

 Trustee”) appointed the statutory committee of unsecured creditors pursuant to section 1102 of

 the Bankruptcy Code (the “Creditors’ Committee”).

                9.      On January 14, 2010, the Court entered the Procedures Order, which

 authorizes the Debtors, among other things, to file omnibus objections to no more than 500

 claims at a time, on various grounds, including those set forth in Bankruptcy Rule 3007(d) and

 those additional grounds set forth in the Procedures Order.

                10.     On December 6, 2011, the Court approved and entered an order

 confirming the Modified Third Amended Joint Chapter 11 Plan of the Debtors [Docket No.

 23023].

             The Purchased Contract Claims Should Be Disallowed and Expunged

                11.     In their review of the claims filed on the claims register in these chapter 11

 cases and maintained by the Court-appointed claims agent, the Debtors have identified the claims

 on Exhibit A as claims related to Purchased Contracts assigned to Barclays and for which the

 Debtors do not have liability. A filed proof of claim is “deemed allowed, unless a party in

 interest . . . objects.” 11 U.S.C. § 502(a). If an objection refuting at least one of the claim’s

 essential allegations is asserted, the claimant has the burden to demonstrate the validity of the

 claim. See In re Oneida Ltd., 400 B.R. 384, 389 (Bankr. S.D.N.Y. 2009); In re Adelphia



                                                   4
08-13555-mg      Doc 24933      Filed 02/03/12 Entered 02/03/12 11:20:50            Main Document
                                           Pg 8 of 17



 Commc’ns Corp., No. 02-41729 (REG), 2007 Bankr. LEXIS 660, at *15 (Bankr. S.D.N.Y. Feb.

 20, 2007); In re Rockefeller Ctr. Props., 272 B.R. 524, 539 (Bankr. S.D.N.Y. 2000). Moreover,

 section 502(b)(1) of the Bankruptcy Code provides, in relevant part, that a claim may not be

 allowed to the extent that “such claim is unenforceable against the debtor and property of the

 debtor, under any agreement or applicable law.” 11 U.S.C. § 502(b)(1).

                12.     The Purchased Contract Claims are claims based on Purchased Contracts

 that were assigned to Barclays pursuant to section 2.5 of the Asset Purchase Agreement. Under

 the Asset Purchase Agreement, Barclays has the obligation to cure any amounts outstanding on

 the Purchased Contracts and responsibility for any obligations incurred thereafter. Thus, any

 liability related to the Purchased Contracts belongs to Barclays, not the Debtors. (See Asset

 Purchase Agreement §§ 2.3(b) and 2.5.)

                13.     Section 365(f) of the Bankruptcy Code governs assignment of executory

 contracts and further establishes that the Debtors do not have liability for the Purchased Contract

 Claims. Section 365(f)(2)(A) requires the assignor of an executory contract to assume the

 contract in accordance with the provisions of section 365. 11 U.S.C. § 365(f)(2)(A). Section

 365(b), in turn, requires a debtor in possession assuming an executory contract to cure, or

 provide adequate assurance that the debtor will promptly cure, defaults, subject to certain

 exceptions for which cure of the default is not required. 11 U.S.C. § 365(b)(1)(A). Section

 365(b) further requires the debtor in possession to compensate, or provide adequate assurance

 that the debtor in possession will compensate, a party suffering pecuniary loss as a result of such

 default. 11 U.S.C. § 365(b)(1)(B). Section 365(k) relieves a debtor that assigns an executory

 contract from liability for any default occurring after such assignment. 11 U.S.C. § 365(k).




                                                  5
08-13555-mg      Doc 24933       Filed 02/03/12 Entered 02/03/12 11:20:50             Main Document
                                            Pg 9 of 17



                14.     The Court found in the Barclays Sale Order that the conditions of section

 365 had been met. Specifically, the Court found that the Debtors had, “(i) to the extent

 necessary, cured or provided adequate assurance of cure, of any default existing prior to the date

 hereof with respect to the [Purchased Contracts], within the meaning of 11 U.S.C. §§

 365(b)(1)(A) and 365(f)(2)(A), and (ii) to the extent necessary, provided compensation or

 adequate assurance of compensation to any party for any actual pecuniary loss to such party

 resulting from a default prior to the date hereof with respect to the [Purchased Contracts], within

 the meaning of 11 U.S.C. § 365(b)(1)(B) and 365(f)(2)(A).” (Barclays Sale Order ¶ T.)

 Accordingly, the Debtors are relieved of liability for any defaults that occurred after assignment

 of the Purchased Contracts to Barclays pursuant to section 365(k).

                15.     Under both the terms of the Asset Purchase Agreement and the Barclays

 Sale Order, the Debtors have no liability on the Purchased Contracts. If the Purchased Contract

 Claims remain on the claims register, the potential exists for recoveries by parties that do not

 hold valid claims against the Debtors’ estates. As such, the Debtors respectfully request that the

 Court disallow and expunge the Purchased Contract Claims listed on Exhibit A attached hereto.

                                                Notice

                16.     No trustee has been appointed in these chapter 11 cases. The Debtors

 have served notice of this Two Hundred Fifty-Sixth Omnibus Objection to Claims on (i) the U.S.

 Trustee; (ii) the attorneys for the Creditors’ Committee; (iii) the Securities and Exchange

 Commission; (iv) the Internal Revenue Service; (v) the United States Attorney for the Southern

 District of New York; (vi) each claimant listed on Exhibit A; and (vii) all other parties entitled to

 notice in accordance with the procedures set forth in the second amended order entered on June

 17, 2010 governing case management and administrative procedures for these cases [Docket No.

 9635]. The Debtors submit that no other or further notice need be provided.



                                                   6
08-13555-mg      Doc 24933       Filed 02/03/12 Entered 02/03/12 11:20:50         Main Document
                                           Pg 10 of 17



                17.     No previous request for the relief sought herein has been made by the

 Debtors to this or any other Court.

                WHEREFORE the Debtors respectfully request that the Court grant the relief

 requested herein and such other and further relief as is just.

 Dated: February 3, 2012
        New York, New York
                                                        CURTIS, MALLET-PREVOST,
                                                         COLT & MOSLE LLP

                                                        By: __/s/ L. P. Harrison 3rd___
                                                                L. P. Harrison 3rd
                                                                Cindi Eilbott Giglio
                                                        101 Park Avenue
                                                        New York, New York 10178-0061
                                                        (212) 696-6000

                                                        Counsel for Debtors and
                                                         Debtors-in-Possession




                                                   7
08-13555-mg   Doc 24933   Filed 02/03/12 Entered 02/03/12 11:20:50   Main Document
                                    Pg 11 of 17



                                   EXHIBIT A
                          08-13555-mg        Doc 24933        Filed 02/03/12 Entered 02/03/12 11:20:50                Main Document
                                                                        Pg 12 of 17
                                 IN RE: LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                   OMNIBUS OBJECTION 256: EXHIBIT A – PURCHASED CONTRACT CLAIMS

                                             CASE                                              FILED       CLAIM   TOTAL CLAIM    REASON FOR PROPOSED
    NAME                                    NUMBER       DEBTOR NAME                           DATE          #       DOLLARS      DISALLOWANCE
1   AFNI/VERIZON                             08-13555    Lehman Brothers Holdings Inc.        07/20/2009    6155      $301.43     Purchased Contract Claim
    404 BROCK DRIVE                           (JMP)
    BLOOMINGTON, IL 61701
2   COMED CO.                                08-13555    Lehman Brothers Holdings Inc.        12/19/2008    4294     $4,486.21    Purchased Contract Claim
    ATTN: BANKRUPTCY                          (JMP)
    SECTION/REVENUE MANAGEMENT
    2100 SWIFT DRIVE
    OAKBROOK, IL 60523
3   CUSHMAN & WAKEFIELD, INC.                08-13555    Lehman Brothers Holdings Inc.        09/18/2009   16185     $96,400.00   Purchased Contract Claim
    C/O D. EDWARD HAYS, ESQ.                  (JMP)
    MARSHACK HAYS LLP
    5410 TRABUCO ROAD, SUITE 130
    IRVINE, CA 92620
4   CUSHMAN & WAKEFIELD, INC.                08-13555    Lehman Brothers Holdings Inc.        09/18/2009   16186     $10,500.00   Purchased Contract Claim
    C/O D. EDWARD HAYS, ESQ.                  (JMP)
    MARSHACK HAYS LLP
    5410 TRABUCO ROAD, SUITE 130
    IRVINE, CA 92620
5   FIDESSA CORPORATION                      08-13555    Lehman Brothers Holdings Inc.        08/20/2009    8861     $23,311.46   Purchased Contract Claim
    ATTN: MICHELLE ZIZZAMIA                   (JMP)
    17 STATE STREE, 42ND FL.
    NEW YORK, NY 10004
6   IKON OFFICE SOLUTIONS                    08-13555    Lehman Brothers Holdings Inc.        11/03/2008    447      $2,059.59    Purchased Contract Claim
    ACCOUNTS RECEIVABLE CENTER                (JMP)
    ATTN: BANKRUPTCY TEAM
    3920 ARKWRIGHT RD. - SUITE 400
    MACON, GA 31210
7   IKON OFFICE SOLUTIONS                    08-13555    Lehman Brothers Holdings Inc.        11/12/2008    614       $857.27     Purchased Contract Claim
    ACCOUNTS RECEIVABLE CENTER                (JMP)
    ATTN: BANKRUPTCY TEAM
    3920 ARKWRIGHT RD. - SUITE 400
    MACON, GA 31210




                      * - Indicates claim contains unliquidated and/or undetermined amounts                                                    Page 1 of 4
                           08-13555-mg        Doc 24933        Filed 02/03/12 Entered 02/03/12 11:20:50                Main Document
                                                                         Pg 13 of 17
                                  IN RE: LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                    OMNIBUS OBJECTION 256: EXHIBIT A – PURCHASED CONTRACT CLAIMS

                                              CASE                                              FILED       CLAIM   TOTAL CLAIM   REASON FOR PROPOSED
     NAME                                    NUMBER       DEBTOR NAME                           DATE          #       DOLLARS     DISALLOWANCE
8    LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1516     $3,548.75   Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
9    LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1517     $1,053.40   Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
10   LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1518      $120.00    Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
11   LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1520      $80.00     Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
12   LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1521      $225.41    Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
13   LEXISNEXIS, A DIV OF REED ELSEVIER,      08-13555    Lehman Brothers Holdings Inc.        12/19/2008    1522      $740.20    Purchased Contract Claim
     INC.                                      (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342




                       * - Indicates claim contains unliquidated and/or undetermined amounts                                                   Page 2 of 4
                            08-13555-mg        Doc 24933        Filed 02/03/12 Entered 02/03/12 11:20:50                Main Document
                                                                          Pg 14 of 17
                                   IN RE: LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                     OMNIBUS OBJECTION 256: EXHIBIT A – PURCHASED CONTRACT CLAIMS

                                               CASE                                              FILED       CLAIM   TOTAL CLAIM    REASON FOR PROPOSED
     NAME                                     NUMBER       DEBTOR NAME                           DATE          #       DOLLARS      DISALLOWANCE
14   LEXISNEXIS, A DIV OF REED ELSEVIER,       08-13555    Lehman Brothers Holdings Inc.        06/18/2009    4926     $1,358.72    Purchased Contract Claim
     INC.                                       (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
15   LEXISNEXIS, A DIV OF REED ELSEVIER,       08-13555    Lehman Brothers Holdings Inc.        06/18/2009    4927     $2,145.84    Purchased Contract Claim
     INC.                                       (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
16   LEXISNEXIS, A DIV OF REED ELSEVIER,       08-13555    Lehman Brothers Holdings Inc.        06/18/2009    4928     $1,551.92    Purchased Contract Claim
     INC.                                       (JMP)
     ATTN: BETH FARNHAM
     9443 SPRINGBORO PIKE
     MIAMISBURG, OH 45342
17   MEB OPTIONS, LLC                          08-13902    Lehman Brothers Financial            09/19/2009   19577     $60,411.00   Purchased Contract Claim
     440 S LASALLE, SUITE 959                   (JMP)      Products Inc.
     CHICAGO, IL 60605
18   MICROSOFT CORPORATION/                    08-13555    Lehman Brothers Holdings Inc.        09/21/2009   25692    $244,111.91   Purchased Contract Claim
     MICROSOFT ENTERPRISE SERVICES              (JMP)
     C/O JOSEPH E. SHICKICH, JR.
     RIDDELL WILLIAMS P.S.
     1001 FOURTH AVENUE, SUITE 4500
     SEATTLE, WA 98154
19   STANDARD & POOR'S                         08-13555    Lehman Brothers Holdings Inc.        08/18/2010   67027    $403,866.00   Purchased Contract Claim
     55 WATER STREET - 46TH FLOOR               (JMP)
     NEW YORK, NY 10041




                        * - Indicates claim contains unliquidated and/or undetermined amounts                                                    Page 3 of 4
                            08-13555-mg        Doc 24933        Filed 02/03/12 Entered 02/03/12 11:20:50                 Main Document
                                                                          Pg 15 of 17
                                   IN RE: LEHMAN BROTHERS HOLDINGS INC., ET AL., CASE NO: 08-13555 (JMP)

                                      OMNIBUS OBJECTION 256: EXHIBIT A – PURCHASED CONTRACT CLAIMS

                                               CASE                                              FILED       CLAIM   TOTAL CLAIM      REASON FOR PROPOSED
     NAME                                     NUMBER       DEBTOR NAME                           DATE          #       DOLLARS        DISALLOWANCE
20   STANDARD & POOR'S                         08-13555    Lehman Brothers Holdings Inc.        09/09/2009   10928     $59,634.00     Purchased Contract Claim
     INTERNATIONAL LLC                          (JMP)
     MARUNOUCHI KITAGUCHI BLDG 28F
     1-6-5
     MARUNOUCHI
     CHIYODA-KU
     TOKYO, 13 100-0005
     JAPAN
21   TOTAL FIRE PROTECTION                     08-13555    Lehman Brothers Holdings Inc.        07/16/2009    5408      $405.54       Purchased Contract Claim
     5322 AVENUE N                              (JMP)
     BROOKLYN, NY 11234
22   TW TELECOM INC.                           08-13555    Lehman Brothers Holdings Inc.        03/24/2010   66419     $10,082.02     Purchased Contract Claim
     10475 PARK MEADOWS DRIVE                   (JMP)
     LITTLETON, CO 80124
23   VERIZON                                   08-13555    Lehman Brothers Holdings Inc.        12/01/2008    1201     $1,469.15      Purchased Contract Claim
     AFNI/VOL BANKRUPTCY                        (JMP)
     PO BOX 3243
     BLOOMINGTON, IL 61702-3243
24   VERIZON                                   08-13555    Lehman Brothers Holdings Inc.        01/22/2009    1931    $236,016.51     Purchased Contract Claim
     AFNI/VERIZON EAST                          (JMP)
     PO BOX 3037
     BLOOMINGTON, IL 61702-3037
25   VVA SYSTEMS                               08-13555    Lehman Brothers Holdings Inc.        02/23/2009    2968     $1,500.00      Purchased Contract Claim
     223 W. JACKSON BLVD, SUITE 800             (JMP)
     CHICAGO, IL 60606
26   VVA SYSTEMS                               08-13555    Lehman Brothers Holdings Inc.        03/16/2009    4510      $150.00       Purchased Contract Claim
     223 W. JCKSON BLVD, SUITE 800              (JMP)
     CHICAGO, IL 60606
                                                                                                             TOTAL    $1,166,386.33




                        * - Indicates claim contains unliquidated and/or undetermined amounts                                                      Page 4 of 4
08-13555-mg        Doc 24933         Filed 02/03/12 Entered 02/03/12 11:20:50                     Main Document
                                               Pg 16 of 17



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :    Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                    :
                                     Debtors.                       :    (Jointly Administered)
 -------------------------------------------------------------------x

           ORDER GRANTING DEBTORS’ TWO HUNDRED FIFTY-SIXTH
        OMNIBUS OBJECTION TO CLAIMS (PURCHASED CONTRACT CLAIMS)

                  Upon the two hundred fifty-sixth omnibus objection to claims, dated February 3,

 2012 (the “Two Hundred Fifty-Sixth Omnibus Objection to Claims”),1 of Lehman Brothers

 Holdings Inc. and its affiliated debtors in the above-referenced chapter 11 cases, as debtors and

 debtors in possession (collectively, the “Debtors”), pursuant to section 502(b) of title 11 of the

 United States Code (the “Bankruptcy Code”), Rule 3007(d) of the Federal Rules of Bankruptcy

 Procedure, and this Court’s order approving procedures for the filing of omnibus objections to

 proofs of claim [Docket No. 6664] (the “Procedures Order”), seeking disallowance and

 expungement of the Purchased Contract Claims on the grounds that they assert claims related to

 contracts for which the Debtors do not have liability, all as more fully described in the Two

 Hundred Fifty-Sixth Omnibus Objection to Claims; and due and proper notice of the Two

 Hundred Fifty-Sixth Omnibus Objection to Claims having been provided to (i) the U.S. Trustee;

 (ii) the attorneys for the Creditors’ Committee; (iii) the Securities and Exchange Commission;

 (iv) the Internal Revenue Service; (v) the United States Attorney for the Southern District of

 New York; (vi) the claimants listed on Exhibit A attached to the Two Hundred Fifty-Sixth

 Omnibus Objection to Claims; and (vii) all other parties entitled to notice in accordance with the

 procedures set forth in the second amended order entered on June 17, 2010 governing case

 1
   Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in
 the Two Hundred Fifty-Sixth Omnibus Objection to Claims.
08-13555-mg      Doc 24933       Filed 02/03/12 Entered 02/03/12 11:20:50               Main Document
                                           Pg 17 of 17



 management and administrative procedures for these cases [Docket No. 9635]; and the Court

 having found and determined that the relief sought in the Two Hundred Fifty-Sixth Omnibus

 Objection to Claims is in the best interests of the Debtors, their estates, creditors, and all parties

 in interest and that the legal and factual bases set forth in the Two Hundred Fifty-Sixth Omnibus

 Objection to Claims establish just cause for the relief granted herein; and after due deliberation

 and sufficient cause appearing therefor, it is

                ORDERED that the relief requested in the Two Hundred Fifty-Sixth Omnibus

 Objection to Claims is granted to the extent provided herein; and it is further

                ORDERED that, pursuant to section 502(b) of the Bankruptcy Code, the claims

 listed on Exhibit 1 annexed hereto (collectively, the “Purchased Contract Claims”) are

 disallowed and expunged in their entirety with prejudice; and it is further

                ORDERED that this Order supersedes all previous orders regarding the

 disposition of the Purchased Contract Claims listed on Exhibit 1 annexed hereto; and it is further

                ORDERED that this Order has no res judicata, estoppel, or other effect on the

 validity, allowance, or disallowance of, and all rights to object and defend on any basis are

 expressly reserved with respect to, any claim listed on Exhibit A annexed to the Two Hundred

 Fifty-Sixth Omnibus Objection to Claims that is not listed on Exhibit 1 annexed hereto; and it is

 further

                ORDERED that this Court shall retain jurisdiction to hear and determine all

 matters arising from or related to this Order.

 Dated: _____________, 2012
        New York, New York

                                              UNITED STATES BANKRUPTCY JUDGE




                                                   -2-
